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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                               CASE NO. 1:04-cr-00030-MP-AK

ALFRED LEE CASON, JR,

      Defendant.
___________________________/

                                             ORDER

       This matter is before the Court on Doc. 80, a motion by Chase Manhattan Mortgage

Corporation to determine the validity of its interest in Mr. Cason's property that, per the order at

doc. 78, is set to be forfeited. In order to better adjudicate this motion, the Court directs the

government to file a written response by Friday, October 6, 2006.



       DONE AND ORDERED this 13th day of September, 2006


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
